        Case 4:16-cv-02573 Document 67 Filed in TXSD on 10/01/18 Page 1 of 6



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

CRISTY BUNKER,                                      §
                                                    §
                Plaintiff,                          §
                                                    §    Civil Action No. 4:16-cv-02573
-v-                                                 §
                                                    §    JURY TRIAL DEMANDED
PCP FOR LIFE, PA, AND NAJMUDDIN                     §
K. KARIMJEE,                                        §
                                                    §
                Defendants.                         §

      PLAINTIFF CRISTY BUNKER’S OBJECTIONS TO DEFENDANTS’ EXHIBIT LIST


TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

         NOW COMES Plaintiff Cristy Bunker and files this, her Objections to Defendants’ Exhibit

List.

NO. DESCRIPTION                          OFR OBJ                                         ADM DATE
                                              FRE 402. Irrelevant. FRE 403.
                                              Confusion of the issues.

                                              Objections only as to the payroll
    Payroll Summary for Cristy                summary records from August 6, 2010
    Bunker from August 2010 to June           to January 2, 2015 (PCP0003-
D1.
    2016 – Bates Stamped PCP0001-             PCP0004). Those records are irrelevant
    PCP0004                                   as Plaintiff’s pay during that period is
                                              not at issue in this case (i.e., it is
                                              outside of the relevant time period) and
                                              its introduction would likely cause
                                              confusion.

    Time Clock Records for Cristy
D2. Bunker – Bates Stamped
    PCP005-PCP0042




PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ PROPOSED EXHIBITS – Page 1
      Case 4:16-cv-02573 Document 67 Filed in TXSD on 10/01/18 Page 2 of 6




                                              FRE 402. Irrelevant. FRE 403.
                                              Confusion of the issues/Danger of
                                              unfair prejudice substantially
                                              outweighs probative value (if any).
                                              This email is from more than 4 years
    Email from Cristy Bunker to Dr.           prior to the relevant time period in
D3. Karimjee, dated September 7,              dispute in this case. It discusses
    2010 – Bates Stamped PCP0043              scheduling at a time, years removed
                                              from the relevant time at issue in this
                                              case. It is not relevant to this dispute,
                                              would likely confuse the jury, and if
                                              there is any probative value at all, it is
                                              outweighed by the danger of unfair
                                              prejudice.

                                              FRE 402. Irrelevant. FRE 403.
                                              Confusion of the issues/Danger of
                                              unfair prejudice substantially
                                              outweighs probative value (if any).
                                              This email is from more than 3 years
    Email from Cristy Bunker to Dr.           prior to the relevant time period in
    Karimjee, dated April 27, 2011 –          dispute in this case. It discusses
D4. Bates Stamped PCP0044                     Plaintiff’s resignation from
                                              employment with Defendants at that
                                              time. It is not relevant to this dispute,
                                              would likely confuse the jury, and if
                                              there is any probative value at all, it is
                                              outweighed by the danger of unfair
                                              prejudice.

                                              FRE 402. Irrelevant. FRE 403.
                                              Confusion of the issues/Danger of
                                              unfair prejudice substantially
                                              outweighs probative value (if any).
                                              This email is from more than 6 years
    Email from Cristy Bunker to Dr.           prior to the relevant time period in
D5. Karimjee, dated July 17, 2008 –           dispute in this case. It discusses
    Bates Stamped PCP0045                     Plaintiff’s resignation from
                                              employment with Defendants at that
                                              time. It is not relevant to this dispute,
                                              would likely confuse the jury, and if
                                              there is any probative value at all, it is
                                              outweighed by the danger of unfair
                                              prejudice.


PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ PROPOSED EXHIBITS – Page 2
      Case 4:16-cv-02573 Document 67 Filed in TXSD on 10/01/18 Page 3 of 6




    Email from Cristy Bunker to Dr.
D6. Karimjee, dated June 17, 2015 –
    Bates Stamped PCP0046

    Paycheck Details for Cristy
    Bunker from January 2015 to
D7.
    July 2016 – Bates Stamped
    PCP0047-PCP0091

    Payroll History for Cristy
    Bunker from January 2015 to
D8.
    June 2016 – Bates Stamped
    Bunker-0001 to Bunker-0004

    Text Messages between Cristy
    Bunker and Dr. Najmuddin
D9.
    Karimjee – Bates Stamped
    Bunker-0016 to Bunker-0035

     Protocol for Delegation of
     Prescriptive Authority and
D10. Initiation of Medical Aspects of         FRE 402. Irrelevant.
     Care – Bates Stamped Bunker-
     0038 to Bunker-0044

     Advanced Practice Registered
     Nurse Verification Results, dated
D11. October 14, 2010 – Bates                 FRE 402. Irrelevant.
     Stamped Bunker-0076 to
     Bunker-0077

                                              FRE 402. Irrelevant. FRE 403.
                                              Confusion of the issues/Danger of
                                              unfair prejudice substantially
                                              outweighs probative value (if any).
                                              The issue in this case is whether
     US Bureau of Labor Statistics            Defendants paid Plaintiff on a salary
     for Occupational Employment              basis. Generalized ay statistics for
D12.
     and Wages, May 2016 – 29-                nurse practitioners is not relevant to
     1171 Nurse Practitioners                 this issue. This data is likely to confuse
                                              the jury as it is not relevant. Moreover,
                                              the danger of unfair prejudice against
                                              Plaintiff as a high-wage earner
                                              substantially outweighs any probative
                                              value this data may have.


PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ PROPOSED EXHIBITS – Page 3
       Case 4:16-cv-02573 Document 67 Filed in TXSD on 10/01/18 Page 4 of 6




                                              FRE 403. Danger of unfair prejudice
                                              substantially outweighs probative value
                                              (if any). FRE 802. Hearsay. FRE 1002.
                                              Underlying original documents not
                                              produced.
                                              This declaration constitutes hearsay and
                                              does not fall under any of the hearsay
                                              exceptions. Additionally, Defendant
                                              Najmuddin Karimjee’s in-court
       Declaration of Najmuddin               testimony will be more probative on the
D13.
       Karimjee, Dated March 21, 2007         point for which the declaration is
                                              offered and admitting it would not
                                              serve the interests of justice.
                                              Additionally, this declaration speaks to
                                              the exempt status of other employees
                                              who Defendants refused to produce
                                              payroll records for. As these original
                                              underlying documents have not been
                                              produced, the declaration should be
                                              excluded.

                                              FRE 403. Danger of unfair prejudice
                                              substantially outweighs probative value
                                              (if any). FRE 802. Hearsay. FRE 901.
                                              No authenticating witness. FRE 1002.
                                              Underlying original documents not
                                              produced.
                                              These declarations constitute hearsay
                                              and do not fall under any of the hearsay
                                              exceptions. Moreover, these
                                              declarations do not have circumstantial
       Declaration of Jessica Laabs,          guarantees of trustworthiness, the
D14.
       Dated March 20, 2007                   payroll records of these individuals
                                              would be far more probative on the
                                              point for which the declaration is
                                              offered, and admitting these
                                              declarations would certainly not serve
                                              the interests of justice.
                                              During discovery, Plaintiff requested
                                              payroll records for other nurse
                                              practitioner and physician assistant
                                              employees. Defendants argued that
                                              those documents were not relevant as


PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ PROPOSED EXHIBITS – Page 4
       Case 4:16-cv-02573 Document 67 Filed in TXSD on 10/01/18 Page 5 of 6



                                              they related to other employees, yet
                                              now attempt to offer declarations form
                                              these employees into evidence.
                                              The Magistrate Judge denied Plaintiff’s
                                              motion to compel the production of the
                                              payroll records (objection pending
                                              before the Court) based on
                                              proportionality, and thus denied
                                              Plaintiff the documents necessary to
                                              verify the veracity of these
                                              declarations. Allowing these
                                              declarations to be admitted into
                                              evidence while denying Plaintiff access
                                              to all underlying records would unfairly
                                              prejudice Plaintiff beyond repair.

       Declaration of Natalee Calais,
D15.                                          See D14 Objection.
       Dated March 20, 2007

       Declaration of Fatisha Brown,
D16.                                          See D14 Objection.
       Dated March 20, 2007

       Declaration of Dorothy Currier,
D17.                                          See D14 Objection.
       Dated March 20, 2007

       Declaration of Kristy Carroll,
D18.                                          See D14 Objection.
       Dated March 20, 2007

       Declaration of Karen Marler,
D19.                                          See D14 Objection.
       Dated March 20, 2007

                                              FRE 403. Confusion of the
                                              issues/Danger of unfair prejudice
                                              substantially outweighs probative value
     U.S. Department of Labor,                (if any). FRE 802. Hearsay.
     Employment Standards Division,
     Wage and Hour Division –                 This opinion letter is likely to cause
D20.                                          confusion of the issues because the
     FLSA Opinion Letter
     FLSA2005-20, dated August 19,            letter assumes a salary basis.
                                              Conversely, whether Defendants paid
     2005
                                              Plaintiff on a salary basis is the key
                                              dispute in this case. Moreover, the
                                              danger of unfair prejudice substantially
                                              outweighs any probative value this




PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ PROPOSED EXHIBITS – Page 5
       Case 4:16-cv-02573 Document 67 Filed in TXSD on 10/01/18 Page 6 of 6



                                              letter may have because it is not based
                                              on the facts of Plaintiff’s case.

       Resume of Attorney Fee Expert
D21.
       Witness George Edwards III

       Resume of Attorney Fee Expert
D22.
       Witness Murtaza Sutarwalla

       Attorney Fee Affidavit (as of
D23.
       date of trial)



                                               Respectfully submitted,


                                                /s/ Julie L. St. John
                                               Julie L. St. John (attorney-in-charge)
                                               Texas Bar No. 24106460
                                               S.D. Texas Bar No. 3139258
                                               Robert J. Wiley*
                                               Texas Bar No. 24013750
                                               S.D. Texas Bar No. 596499
                                               *Board Certified in Labor and Employment Law by
                                               the Texas Board of Legal Specialization

                                               LAW OFFICE OF ROB WILEY, P.C.
                                               1651 Richmond Ave.
                                               Houston, Texas 77006
                                               Telephone: (713) 337-1333
                                               Facsimile: (713) 337-1334
                                               jstjohn@robwiley.com

                                               FOR THE PLAINTIFF


                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 1, 2018 I served a copy of the foregoing on counsel for

Defendant via the Court’s CM/ECF system.

                                                       /s/ Julie L. St. John
                                                       Julie L. St. John




PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ PROPOSED EXHIBITS – Page 6
